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EXHIBIT D




                         In The Matter Of:
                          Valencia Colon v.
                       Richard Roundtree et al




                            Alzater Johnson
                            February 4, 2022




                       Kellie K. Rodman, LLC
                      Certified Court Reporters
                            P. O. Box 500
                       Homer, Georgia 30547
                            678-614-8109




                       Original File 020422Cauthorn_Johnson.txt
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Valencia Colon v.                                                                                               Alzater Johnson
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                                                                                                                             Page 3
 1                  IN THE UNITED STATES DISTRICT COURT        1                                    I N D E X
                   FOR THE SOUTHERN DISTRICT OF GEORGIA
 2                           AUGUSTA DIVISION                  2
 3                                                             3   CROSS-EXAMINATION BY MR. CAUTHORN . . . . . . . . . . .   Page 5
     Valencia Colon,                  )
 4                                    )                        4
     Plaintiff,                       )
 5                                    )                        5
                                  )     Civil Action File No.
 6   v.                           )     1:21-cv-00149-JRH-BKE  6
                                      )
 7                                    )                        7                                 E X H I B I T S
     Richard Roundtree, et al.,       )
 8                                    )                        8
     Defendants.                      )
 9                                                             9   EXHIBIT        DESCRIPTION                        PAGE MARKED/
                                                                   NUMBER                                             IDENTIFIED
10                                                            10
11                                                            11     (No Exhibits were marked or presented for identification.)

12          The videotaped videoconference deposition of 12
13         ALZATER JOHNSON, taken for purposes of discovery,  13
14         cross-examination, and all other purposes allowed  14
15          under the Civil Practice Act of Georgia; all 15
16         formalities waived; the reading and signing of the 16
17         deposition waived; before Jennifer A. Gerber, CCR  17
18         6241-2465-4151-2704, Certified Court Reporter, in  18
19          and for the State of Georgia; commencing at       19
20         11:25 a.m., February 4th, 2022, Augusta, Georgia.  20                         TRANSCRIPT LEGEND
21                                                            21   . . . (ellipsis)   Halting speech or an unfinished sentence
                                                                                      in dialogue or an omission when reading
22                                                            22                         written material
                                                                   --    (dashes)        Break in speech continuity
23                          Kellie K. Rodman, LLC             23   (ph)                  Spelled phonetically
                          Certified Court Reporters                (sic)                 In its original form
24                        rodmanreporting@gmail.com           24
                                678-614-8109
25                                                            25

                                                     Page 2                                                                  Page 4
 1                         APPEARANCES (Remote)
                                                               1                PROCEEDINGS
 2
                                                               2                                    11:25 a.m.
 3   ON BEHALF OF THE PLAINTIFF:
                                                               3         (Whereupon, the court reporter complied with the
 4   J. WICKLIFFE CAUTHORN, ATTORNEY AT LAW
     The Cauthorn Firm                                         4     requirements of O.C.G.A. 9-11-28(c).)
 5   201 Cherokee Street
     Marietta, Georgia 30060                                   5         THE VIDEOGRAPHER: All right. This is the deposition
 6   404-991-2700
                                                               6     of Alzater Johnson in the matter of Colon versus
 7                                                             7     Roundtree. Today's date is February 4th, 2022. The
 8   ON BEHALF OF THE DEFENDANTS:                              8     time is 11:25. We are on the record.
 9   TAMEKA HAYNES & RANDOLPH FRAILS, ATTORNEYS AT LAW         9         THE COURT REPORTER: Okay. And, again, today's date
     Frails & Wilson, LLC
10   211 Pleasant Home Road, Suite A1                         10     is February 4th, 2022 and the time is 11:25 a.m. This is
     Augusta, Georgia 30907
11   800-413-9005                                             11     the case of Colon versus Roundtree. At this time, can
12                                                            12     everyone please state their name and who they represent?
13   ALSO IN ATTENDANCE:                                      13         MR. CAUTHORN: My name is Wick Cauthorn. I represent
14   ERIC GEORGE, VIDEOGRAPHER                                14     the Plaintiff.
15                                                            15         MS. HAYNES: Tameka Haynes for the Defendants, and
16                                                            16     Randolph Frails as well. Ms. Johnson, state your name.
17                                                            17         THE WITNESS: Alzater Johnson.
18                                                            18         THE COURT REPORTER: And who are you representing
19                                                            19     today?
20                                                            20         MS. HAYNES: You work for the --
21                                                            21         THE WITNESS: I work for Augusta Parks and Rec --
22                                                            22         THE COURT REPORTER: Thank --
23                                                            23         THE WITNESS: -- Department.
24                                                            24         THE COURT REPORTER: Thank you. My name is Jennifer
25                                                            25     Gerber. I am the court reporter. We are all appearing


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 1     via Zoom today. Do all parties agree to have the witness      1      Olmstead Park. That's all in one vicinity.
 2     sworn remotely?                                               2         Q Okay. And the Julian Smith Casino, is that a -- is
 3        MR. CAUTHORN: Yes.                                         3      that a building that is located at the park?
 4        MS. HAYNES: Yes.                                           4         A That's a building that's located at the park.
 5        THE WITNESS: Yes.                                          5         Q Okay. How long have you been the superintendent at
 6        THE COURT REPORTER: Thank you.                             6      Julian Smith Casino?
 7    (Whereupon, the witness was sworn remotely by the court        7         A Roughly 15 years.
 8           reporter per agreement of counsel.)                     8         Q Okay. And were you the superintendent on June 14th
 9   Whereupon,                                                      9      of 2019?
10                 ALZATER JOHNSON                                  10         A Yes, I was.
11     Was called as a witness herein and, having been first duly   11         Q Okay. Are you familiar with an organization called
12     sworn, was deposed and testified as follows:                 12      25 Gents?
13                 CROSS-EXAMINATION                                13         A Yes, I am.
14   BY MR. CAUTHORN:                                               14         Q Okay. What is 25 Gents?
15     Q Ms. Johnson, my name is Wick Cauthorn. I represent         15         A It's a group of men that do work for the community.
16   Valencia Colon in this case. And we are taking this deposition 16         Q It's a service organization?
17   based on communications that I've had with defense counsel who 17         A More or less. I mean, they do things for the
18   represent Augusta and the sheriff's department and all the 18          community, yes.
19   defendants in this case. And my understanding, based on the 19            Q And I'm not gonna ask you to tell me everything they
20   communications with defense counsel, is that you are here to 20        do for the community, but can you just give me a for instance
21   testify as a -- as a representative of Augusta-Richmond County 21      or an example of things they do for the community?
22   with regard to policies and events at Julian Smith Casino; is 22          A Well, as far as I know, I've just heard them say
23   that correct?                                                  23      that, you know, they help youth, with community projects, and
24      A Correct.                                                  24      help children and adults as well. But wherever they see a
25      Q That's your understanding?                                25      need, they help with it.

                                                             Page 6                                                                 Page 8

 1      A Yes.                                                          1      Q Gotcha, okay. Do you -- do you have a personal
 2      Q Okay, good. I just wanna make sure. And -- and you            2   relationship with any members of the -- of the 25 Gents?
 3   understand that you're not a party to this case, and you're not    3      A In some ways I do because I've been working with them
 4   a defendant. You're just here because Augusta can only talk        4   for so long, you know, when they come up and have their events.
 5   through people. It can't talk through -- by itself. And so         5   So I guess you would say that would be kind of like a personal
 6   you've been designated as -- as one of those people who can        6   relationship because of the fact that I've been working with
 7   talk. Do you understand that?                                      7   them for a long time. So I know they're a great group of guys.
 8      A I understand.                                                 8   I know -- you know, I help them with their set ups and things
 9      Q Okay, good, good. What is your -- can you say and             9   like that, uh-huh (affirmative).
10   spell your full name for the court reporter?                      10      Q So -- so you -- you -- you -- you would describe it
11      A It's Alzater, A-L-Z-A-T-E-R, Johnson, J-O-H-N-S-O-N.         11   as a personal relationship, but -- but your relationship does
12      Q Okay. Do you have a middle name?                             12   only arise out of your job --
13      A No.                                                          13      A Uh-huh (affirmative).
14      Q Okay. And what is your occupation, Ms. Johnson?              14      Q -- as a superintendent?
15      A For the Richmond County Parks and Recreation -- we're        15      A Yeah, I only know them through the working. Now --
16   called superintendents.                                           16      Q That's what --
17      Q Okay. What does -- what does being a superintendent          17      A -- a couple -- a couple of them I know outside of the
18   entail?                                                           18   work, but for the most part, I know most of them just through
19      A The superintendent entails working for the facility,         19   working with them at their events.
20   working for different events that happens at the facility, and    20     Q Okay. Who do know outside of work?
21   just taking care of the premises in general.                      21     A I know Mr. Jones -- Mr. Claude Jones.
22      Q And is there a specific facility where you're                22     Q I -- I didn't catch his first name.
23   assigned?                                                         23     A Claude -- Mr. Claude Jones.
24      A I am. I'm assigned to the Julian Smith Casino and            24     Q How do you know Mr. Jones?
25   also the Julian Smith Casino Barbeque Pit as well as the Lake     25     A We used to live in the same neighborhood years ago.


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 1   About 30, 40 years ago we stayed in the same neighborhood.         1   around --
 2      Q Gotcha. Anyone else besides Mr. Jones?                        2      A Occasions, uh-huh (affirmative). On occasions, yeah.
 3      A Mr. Washington. I don't remember his first name, but          3      Q What -- what are your responsibilities as a
 4   Mr. Washington.                                                    4   superintendent at Julian Smith Casino?
 5      Q Is it Willie?                                                 5      A On a daily basis or when we have an event, which one?
 6      A Willie Washington.                                            6      Q Well, let's start on a daily basis, and then we'll
 7      Q Is that right? Just a second, I'm -- because I'm              7   talk about --
 8   trying to clarify.                                                 8      A On a daily -- on a daily basis, okay, I work with the
 9      A Uh-huh (affirmative).                                         9   community service people. People that's doing probationary
10      Q Willie Washington, is that -- is that -- is that --          10   stuff with DUIs and, you know, the judge sentences them 40
11      A Willie Washington, uh-huh (affirmative).                     11   hours and they'll come there. That's one of the places that
12      Q Okay. How do you know Mr. Washington?                        12   they can come and do that. So I work with them on a daily
13      A That's through church, basically, because we used to         13   basis.
14   fellowship at each other's church.                                14      And we have to take care of the premises, which includes
15      Q All right. What churches are those? What's your              15   that entire park that I'm speaking of. Showing the building to
16   church and what's his church?                                     16   someone that may wanna rent the facility. We have to do that.
17      A My church is Good Hope Missionary Baptist Church and         17   Calling various clients that have already booked the facility
18   at the time -- we were very young -- I think Mr. Washington was   18   to find out just what their needs might be on the day that they
19   attending Moses Baptist Church.                                   19   need to come in, that's daily.
20      Q Okay.                                                        20     Q Okay. And what types of needs do you handle for --
21      A Now, I don't know if that's where he's still going,          21   for -- and when you say clients, I'm guessing you mean people
22   you know.                                                         22   who have rented the event --
23      Q And when you say you used to fellowship, that means          23     A The -- yeah, I have to find out how many tables and
24   that y'all's churches used to have a -- have a -- have a          24   chairs you might need for your set up, what time you need to
25   relationship and an over -- and an overlap?                       25   get in, do you have a caterer, will they be using the kitchen

                                                            Page 10                                                                Page 12

 1      A Yes, yes.                                                   1     as far as cooking, will they be using the upstairs as far as
 2      Q Besides Mr. Jones and Mr. Washington, is there anyone       2     changing clothes. Anything that has to do with that building
 3   else that's --                                                   3     we have to find out prior to you coming in.
 4      A I can't think of anyone right now that I have a             4        Q Okay. And then you make arrangements to help
 5   personal relationship with other than outside of just their      5     facilitate their event?
 6   functions.                                                       6        A Uh-huh (affirmative).
 7      Q Okay. And I'm -- and it sounds like these are old           7        Q Okay. Who puts out the tables and -- and chairs and
 8   relationships in the -- from -- from the community, and that --  8     opens up the kitchen and unlocks doors and all that kind of
 9   do you have any ongoing active friendship with Mr. Jones other   9     stuff?
10   than as an acquaintance in the community and a former neighbor? 10        A That's -- the attendant opens up the building because
11       A No.                                                       11     there's an alarm. So the superintendent has to be on duty at
12       Q Okay.                                                     12     all times. As far as putting out the tables and chairs, that's
13       A I don't.                                                  13     up to the individual people for their set ups. Yeah, they do
14       Q And the same question with Mr. Washington.                14     that.
15       A When was working I did, now, because he used to work 15             Q Okay. Do y'all provide the tables and chairs, or do
16   for International Paper, and I used to work at the credit       16     they have to --
17   union. And he was a member of that credit union.                17        A We provide the tables and chairs.
18       Q And -- and Mr. Jones or Mr. Washington?                   18        Q Okay. What all do y'all provide that's like tables
19       A Mr. Jones.                                                19     and chairs? I mean, do -- do y'all -- would y'all provide, for
20       Q Okay, understood, understood. But you -- I -- I           20     instance, pots and pans in the kitchen if the kitchen was used?
21   guess what I'm getting at, though, is y'all do not see each 21            A No, we do not provide pots and pans. The only thing
22   other on any kind of regular basis or get together?             22     we provide would be the stove, refrigerator, and ice machine.
23       A No, no, uh-uh (negative).                                 23       Q Okay, okay. Now, tell me what you do as a
24       Q You're -- you're friendly the way someone is with         24     superintendent at an event?
25   a -- with a neighbor or someone that you see every now and then 25       A Make sure that whoever has rented the facility is


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 1   comfortable with the building. And that means making sure that     1     Q Okay, all right. Oh, do you have a -- do you have a
 2   they're satisfied with the cleanliness of the building and how     2   county email or a city email?
 3   things are set up as far as our set up is concerned. What they     3     A I do not.
 4   set up, that's their thing.                                        4     Q You do not, okay. What is your work schedule?
 5      And, of course, they have to follow rules and regulations       5   What's your typical week?
 6   on how they set it up, but -- you know, not to block exit doors    6     A My typical week is Monday through Friday from 8:30 to
 7   and things like that. So you make sure of that and then you        7   2:30, Fridays from 8:30 to 1:30.
 8   just sort of walk around and make sure that everybody's            8     Q Okay.
 9   comfortable, that there's no spills on the floor, nobody's         9     A I only do 29 hours --
10   acting crazy -- I call it -- and that kind of stuff.              10     Q If the -- sorry, go ahead.
11      Q All right. And when -- when the event is going on,           11     A I only do 29 hours a week.
12   where are you and -- and --                                       12     Q All right. And do you -- what happens when you have
13      A I'm all over the place. I'm -- I'm just all over the         13   to work at an event -- and work as superintendent at an event?
14   place. I'm in no one particular place. I don't put myself in      14   How do you accommodate that in your time?
15   a position to be sitting in their party. We don't do that.        15      A That's just -- that's extra. So that's separate
16   But I just kind of pop up periodically to look around and make    16   because they have to pay us individually for that.
17   sure that everything is going well. And, you know, checking       17      Q I see.
18   the bathrooms and making sure that everything is in there, that   18      A So if we have -- yeah, if I have something, say this
19   they're still clean, they've got plenty of toilet paper, and      19   afternoon at 5:00, then I would just be at work at 5:00 for
20   that kind of stuff, yeah.                                         20   that particular guest that's gonna use the building.
21      Q Okay. Do you -- do you do any walk-throughs or any           21      Q Okay. And my understanding is that the guests also
22   kind of observations of the parking lot or anything like that?    22   pay the -- the sheriff's deputies?
23      A I do not do parking lot.                                     23      A Right, and the firemen, uh-huh (affirmative).
24      Q Okay.                                                        24      Q Okay. Do they pay by check or by cash?
25      A No. I walk through inside the building.                      25      A It depends. Some pay by check, but for the most

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 1      Q Okay, okay. Do you do -- coordinate with the -- with          1   part, cash.
 2   the sheriff's deputies that provide security?                      2      Q All right. How much is the charge for you -- how --
 3      A Sometimes I do. Yeah, sometimes I do.                         3   how much do you get paid for working at an event?
 4      Q When -- what -- what do you do with the -- what --            4      A Superintendents are paid $20 an hour, minimum four
 5   what is your interaction with the sheriff's deputies when you      5   hours.
 6   do have an interaction?                                            6      Q Okay, all right. Do you know how much the deputies
 7      A I need to make sure that they're there on time.               7   are paid for security?
 8   Because people are paying them, so I have to make sure that        8      A Deputies are paid $30 an hour, firemen are paid $30
 9   they're there on time.                                             9   an hour, holidays 35.
10      Q Okay. And are you told who the sheriff's deputy is           10      Q What's a holiday? Do you mean a specific holiday, or
11   gonna be ahead of time, or do you find out the day of the         11   is there --
12   event?                                                            12      A Yeah, like the Fourth of July, Christmas day,
13      A Do I do what, now?                                           13   whatever, yeah, that's 35.
14      Q Do you find out who the sheriff's deputy is gonna be         14      Q Okay. Do you get a holiday bonus if you have to
15   ahead of time, or do you find out the day of the event?           15   work?
16      A No, I find out ahead of time.                                16      A No, I do not.
17      Q All right. Who tells you who the sheriff's deputy is         17      Q Okay.
18   gonna be?                                                         18      A It'd be nice --
19      A Normally, the person that I work with or my                  19      Q That doesn't seem fair to me. Do you -- are you
20   supervisor tells me. Because they call and get the deputies,      20   required to work every event at Julian Smith, or -- or do
21   so they let me know who's coming so I know who to expect.         21   you -- or can you choose to not work an event and ask --
22      Q Who's your supervisor?                                       22      A I can choose not to work an event.
23      A Chrislynne Kuhlke.                                           23      Q Okay. Did you work the event on June 14th, 2019,
24      Q Okay.                                                        24   the 25 Gents event?
25      A And then my coworker, Darrell Mayle.                         25      A I did.


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 1     Q Okay. And do you recall what -- about what time that        1      were doing, they say, so. But they still know they can't put
 2   event started?                                                  2      coolers on my floor.
 3     A Normally, it's around 6:00 or 6:30. I'm not gonna           3        Q I -- I understand. I just -- I just -- I've been to
 4   say for sure it happened, that was two years ago, almost three  4      several of these parties where you just have a -- maybe
 5   now, so. Normally, it's around 6:00 or 6:30 when the Gents      5      something -- something in the trunk of your car and you just
 6   come in -- and we refer to them as the Gents because they're    6      keep going back and forth.
 7   dressed like gents -- so they normally come in around 6:00 or   7        A Yeah.
 8   6:30 because they wanna make sure that everything's set up and  8        Q Okay.
 9   stuff like that. So I -- I meet them there because they can't   9        A No, we don't, you know, have that back-and-forth,
10   get in the building without me.                                10      uh-uh (negative).
11      Q Okay. And how late does the party go?                     11        Q Okay, okay. On June 14th, 2019 at the 25 Gents
12      A The party goes until 12:00, but normally they start 12            function -- at the Gents function, how many -- about how many
13   leaving prior to that because everything shuts down. I'd say 13        guests were there?
14   around 11:30 -- the drinking and that kind of thing shuts down 14        A That, again, I'm not so sure of right now, but it
15   at 11:30. The DJ set shuts down at 11:45. So when you tell 15          would have had to have been under 200.
16   people they can't drink anymore, they normally pack up and 16            Q Okay. And why do you say --
17   start leaving.                                                 17        A Normally -- well, under 200. Because we only have
18      Q Gotcha, okay.                                             18      one policeman when you have 200 or less guests, so it would
19      A Yeah.                                                     19      have had to have been under 200. It could have been 180, 185,
20      Q And when you say -- who's -- who's -- who's providing 20          190, but not over 200.
21   the alcohol at the Gents event?                                21        Q Okay.
22      A Well, this particular event, it's what they call a        22        A Yeah.
23   BYOB. They buy their own -- they bring their own.              23        Q And the -- the -- other than the -- other than the
24      Q The guests bring their own alcohol?                       24      sheriff's deputy who was providing security, was there anybody
25      A Uh-huh (affirmative).                                     25      else there? Was there anybody from the fire department there?

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 1      Q Okay, okay. When guests bring their own alcohol,              1      A Yeah, a fireman -- one fireman.
 2   where do they put their -- their -- their coolers and -- and       2      Q Do you know the name of the person who was there?
 3   things like that?                                                  3      A I don't remember who the fireman was at the time.
 4      A We -- okay, most of the time they don't bring                 4      Q What does the fireman do when they're there? What --
 5   coolers --                                                         5   what do the firemen do as -- as --
 6      Q Uh-huh (affirmative).                                         6      A Well, when the firemen come in we do what we call a
 7      A -- because we don't really allow coolers on our               7   walk-through. He -- you know, he and I walked through the
 8   floor. That's one reason why I'll be there walking around. We      8   building. Because he has to make sure that all the exit doors
 9   have an old wooden floor --                                        9   are open, the -- there's no cords running across the floors,
10      Q You don't want --                                            10   nothing hazardous that could happen pertaining to a fire and
11      A -- so they don't -- they don't bring coolers. They           11   people getting in and out. Basically, they check the DJs,
12   now have the nice little bags that they zip up that they put      12   really, you know, for the speakers and cords and that kind of
13   alcohol in, yeah.                                                 13   thing. So that's what they do. They check the ovens and then
14      Q Okay, okay. The people -- I mean, the -- you mean            14   we have -- and stuff in the building, they check that. So they
15   like a soft -- a soft type of a bag that holds -- that holds --   15   just make sure that everything is open so if people need to get
16      A Yeah, stuff like that. Yeah, uh-huh (affirmative).           16   in and out, they can.
17      Q But y'all don't -- y'all don't want anybody bringing         17      Q Okay. And --
18   a hard cooler and putting it on that floor?                       18      A And they also check capacity as well. They check
19      A No, no, not on the floor.                                    19   that too.
20      Q Okay, all right. Do people -- if someone has a hard          20      Q What is the capacity of the casino?
21   cooler, do they leave it in their car and then come and go back   21      A If you wanna all sit down and have dinner, we can do
22   and forth to their car to get their --                            22   600. But if you wanna have a party and you wanna dance, we do
23      A No, they don't. They'll -- just kind of like two or          23   350 because you're setting up tables and chairs -- and so we do
24   three people in the car and they'll just take it out and then     24   350 for that. And with Covid going on, we're doing less than
25   bring it in and such. You know, they just forgot what they        25   that because of, you know, the virus.


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 1     Q Okay. Who was your contact with the 25 Gents on the         1     and check. You know, I don't go check the cars and see what
 2   day of June 14th, 2019? Who was -- who was managing the party   2     kind of cars they come in, yeah.
 3   and -- and -- and planning the party?                           3        Q You just confirm that they're there?
 4      A That would be hard to say. The Gents work together. 4               A I confirm that they're there, uh-huh (affirmative).
 5   So my contact would have been either Mr. Jones or Mr. Robinson  5        Q Okay. Did you happen to see him drive up?
 6   or Mr. Willie.                                                  6        A No.
 7      Q Okay.                                                      7        Q Okay. Have you worked with him at an event since
 8      A But they all work together. They all come in and           8     June 14th of 2019?
 9   work together.                                                  9        A I don't believe so. I don't think so, yeah.
10      Q Who's Mr. Robinson?                                       10        Q Okay.
11      A He's one of the presidents. I don't know if he's          11        A If I have, I just don't remember,you know, because
12   past or present. I don't know how -- how -- who's -- who now, 12      that's in and out. We have a lot of events, but I don't
13   you know. But I know at one point he was one of the -- he was 13      believe so.
14   a president at one point.                                      14        Q Do you know if he's worked an event since June 14th
15      Q Okay. Do you know Charlie Walker?                         15     of 2019?
16      A Do I know him?                                            16        A I don't know.
17      Q Yes.                                                      17        Q Okay. What are the responsibilities of the sheriff's
18      A Not know him, no, uh-uh (negative).                       18     deputy during an event?
19      Q Okay. Do you know -- my understanding is that he was 19             A To check and make sure that everything is in order --
20   providing security at the event on June 14th of 2019; is that 20      that people stay in order. And, basically, just the security.
21   right?                                                         21     To make sure that everybody leaves when they're supposed to
22      A Uh-huh (affirmative).                                     22     leave. And in this particular case, we didn't have an open
23      Q Okay. Had you met him before that night?                  23     bar. So they make sure at 11:30 when the DJ announces drinking
24      A Oh, yeah, yeah. I had met him before that, yeah.          24     has now stopped, they're kind of like walking around and make
25   I've worked with him maybe two or three times. I don't know 25        sure you're not drinking. You gotta pack it up, you know,

                                                           Page 22                                                               Page 24

 1   exactly how many. Not a lot, but I have worked with him in the    1   yeah.
 2   past, yeah.                                                       2      Q And do they -- do they walk around on the inside of
 3      Q Okay.                                                        3   the -- of the facility, or do they stay outside the facility?
 4      A He's not there a lot, yeah.                                  4      A No. They're inside and outside.
 5      Q Okay. And -- and what types of interactions had you          5      Q Okay.
 6   had with him outside of working with him?                         6      A They're in and out, uh-huh (affirmative).
 7      A That's it. That's all, yeah.                                 7      Q Do you know on June 19th how much Mr. Walker was
 8      Q Okay. So just -- just what you have -- just the              8   inside the event?
 9   times where he's worked security at an event where you were       9      A I do not. I don't know.
10   acting as superintendent?                                        10      Q Okay. Are they -- are they supposed to leave the
11      A Uh-huh (affirmative), right, right.                         11   event before it's over, or are they supposed to stay the
12      Q Okay. Did -- do you know if he consumed any alcohol         12   whole -- until everybody else is gone?
13   on June 14th of 2019?                                            13      A They stay until everybody's gone.
14      A I don't know if he did, but I've never seen him do          14      Q Okay. On June 14th, would that have been until
15   that, you know. I mean, I'm not with him 24/7, but I've never    15   midnight?
16   seen any of our officers do that, uh-uh (negative) -- never,     16      A I don't know, see, because, like I said, at 11:30
17   uh-uh (negative).                                                17   when we stopped the drinking, people start leaving. And I'm
18     Q Was he wearing a sheriff's uniform -- a deputy's             18   doing what I need to do, you know, at that time. So I'm not
19   uniform?                                                         19   keeping up with what the fireman and the policeman is doing
20     A Oh, yeah. By all means, yeah.                                20   because I'm doing what I need to do. So I couldn't pinpoint
21     Q Was he in a -- in a Richmond County Sheriff's police         21   that.
22   car?                                                             22      Q Okay. I -- I just mean as -- as the person who's
23     A Now, that I don't know.                                      23   kind of running point guard, are they supposed to be there
24     Q Okay.                                                        24   until the -- until -- until everybody's gone?
25     A I -- I wouldn't know, because I don't go out the side        25      A Supposed to, yeah.


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 1     Q Okay.                                                        1    right? And -- and -- and I --
 2     A Supposed to be there, yeah.                                  2       A -- just not the case, so. It just depends on the
 3     Q Okay. And that's because the people hosting the              3    people and the people that's paying and what they're doing.
 4   party are paying them to be there?                               4    Sometimes the people are still at -- you know, gathering up
 5     A That's very true. But, for instance, if you had a            5    their decorations, wedding stuff, and all that kind of stuff.
 6   party and you turned your party out at 11:00, that doesn't mean  6    And so the -- and once you've got all the guests out except for
 7   that the officer and the fireman has to stay there until 12:00.  7    me, whoever's working with me -- one or two other people --
 8   If everybody's out of the building and gone and the grounds are  8    they don't -- really don't have to stay, yeah.
 9   secured, the officer can leave.                                  9       Q I understand. Once -- once the -- once the party's
10       Q Oh, I understand that. I understand that.                 10    over and it's just the -- and it's just the winding down of the
11       A Okay, all right.                                          11    hosts, they might leave?
12       Q On June 14th at the -- at the 25 Gents event, who         12       A Uh-huh (affirmative).
13   was the last person to leave?                                   13       Q Okay. On -- on June 14th, when you were locking
14       A Who? That would have been me.                             14    the door and leaving, do you know if the -- if the fireman was
15       Q Really?                                                   15    still there?
16       A That would have been me and one of the -- and one or 16            A I doubt it. I'm just saying that I doubt it because
17   two of the Gents because they stay until everybody's gone off 17      normally, you know, it's -- it's just us -- it's just me and
18   the premises and all that kind of stuff. And then the other 18        the Gents. The Gents always stay -- two or three of them -- to
19   person that was working with me, we would have been the last 19       make sure everything's in order for them, as far as the
20   ones to leave.                                                  20    building is concerned. They wanna make sure nothing is torn up
21       Q Okay.                                                     21    and nothing is broken and that. They'll stay, you know, but
22       A Because we --                                             22    other than that, no, nobody else has to stay.
23       Q Was that Gerald Smith?                                    23      Q They wanna make sure they get their deposit back?
24       A That's Gerald Smith, yeah.                                24      A That's exactly correct.
25       Q All right. When you left, was Charlie Walker still 25             Q Okay. Who is -- who is responsible for coordinating

                                                           Page 26                                                                Page 28

 1   there?                                                     1          the security coverage at the Julian Smith events? Who -- who
 2      A Not that I remember. I can't remember that. I'm       2          does -- who does that?
 3   just ready to go when it's time to go.                     3            A It depends on who's on hand. Sometimes I do it.
 4      Q Well, it's been a long night, yeah.                   4          Sometimes -- most of the times Darrell does it. And sometimes
 5      A Yeah, it's been a long night, yeah.                   5        Chrislynne does it. It depends on who's there.
 6      Q Are you -- are you -- are you pretty much always the 6            Q Do you know who -- do you know who the deputy is
 7   last person to leave?                                      7        gonna be ahead of time? Do they tell you who it's gonna be
 8      A If I'm the superintendent on duty, I have to be       8        ahead of time?
 9   because I have to set the alarm, yeah.                     9           A Yeah.
10      Q No, I mean -- so, literally, when I -- you're -- you 10           Q Usually about how far ahead of time is -- is that
11   are the one who punches the code and locks the door on the way   11 information given?
12   out?                                                             12    A For instance, like I'm having an event tomorrow,
13      A That's exactly right.                                       13 which is Saturday. We called in, say, Monday to find out
14      Q Okay, okay, so you have to wait until everybody             14   who -- you know, who's the deputy gonna be. So we probably
15   leaves.                                                          15   knew Monday who the deputy was gonna be, and no later than
16      A I have to wait.                                             16   Tuesday.
17      Q All right. On a typical event when you're walking           17     Q Okay. So typically four, five days ahead of the
18   out and locking the door and setting the alarm, is there still   18   event?
19   a sheriff's deputy there waiting on you to leave?                19     A Five days ahead of the event, uh-huh (affirmative).
20      A Sometimes. It just depends on -- on how the hours           20     Q Okay. So in this case you would have expected
21   are set up as far as the -- I guess you would say, the guests    21   sometime in that first week of June -- first or early in the
22   are concerned -- the person who's having the event wants it.     22   second week of June 2019?
23   Some of them change the times around. And they'll do that,       23     A Right, in that first week at least,
24   yeah.                                                            24   uh-huh (affirmative).
25      Q Well, I just mean that they're providing security,          25     Q Okay.


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 1      A And that's the same thing with the fireman.                  1   and I was -- and so I was really just asking if you noticed if
 2      Q Okay. And the -- on the night of June 14th of 2019,          2   there was anybody like that, an elected official or any --
 3   did you ever see Charlie Walker leave the event?                  3      A I don't remember if there was anybody like that
 4      A That I can't say, see, because I'm not with him, you         4   there, no.
 5   know what I'm saying. So I don't know if he left or not. I do     5      Q Have you ever seen any elected officials or any -- or
 6   know they do check the parking lots and stuff, you know,          6   anybody like that at a -- at a 25 Gents event?
 7   because people's cars and stuff are out there. I don't know       7      A Not that I can recall.
 8   when they do it, they just do it, you know.                       8      Q Okay. Would you recognize an elected official if
 9      Q Oh, no, I'm -- yeah, I'm not -- I'm not -- I'm               9   you -- if you saw them?
10   just -- really just asking if you happened to see him leave,     10      A If it's one that I see a lot.
11   that's all. Okay --                                              11      Q Well, I mean, for instance, I live in Atlanta. And I
12      A No, uh-uh (negative).                                       12   wouldn't recognize a city council person if that was -- so
13      Q Did you ever see him talking to any guests of the           13   that's why I was asking, just to follow up.
14   party?                                                           14      A Yeah, if it's one that I see a lot -- or his face on
15      A We all do. I mean, we talk -- we all talk to people,        15   TV a lot or something, you know, maybe, yeah.
16   so I -- I don't know who's -- who's who and what's what, you     16      Q Okay, okay. Well, let me look at my notes really
17   know, so -- because I talk to guests all night long, you know.   17   quick. Give me about five minutes, ten minutes and we'll --
18      Q Do sheriff's deputies normally arrive in their own          18   and I'm gonna look at my notes and I'll come back with some
19   car, or in a -- or in police cruiser?                            19   follow-up questions. And then we'll probably be able to wrap
20      A It varies. Sometimes they're in the police car, and         20   up, okay?
21   sometimes they're in their own car.                              21      A All right, that will be fine.
22      Q When they're working security at the -- at the Julian       22      Q Okay, just give me a few seconds.
23   Smith events, are they on duty, or are they off duty working     23          THE VIDEOGRAPHER: And we are -- we are off the
24   security?                                                        24       record at 12:01.
25      A Off duty.                                                   25          (Whereupon, a brief recess ensued.)

                                                           Page 30                                                               Page 32

 1      Q They're off duty working security?                        1             THE VIDEOGRAPHER: All right, and we are back on the
 2      A (Nods head.)                                              2         record at 12:05.
 3      Q Okay. Was this event -- was the -- was the 25 Gents       3      BY MR. CAUTHORN: (Resuming)
 4   event -- was that a ticketed event? Did people have to buy     4         Q All right, Ms. Johnson.
 5   tickets for that event?                                        5         A Yes.
 6      A Yes, uh-huh (affirmative).                                6         Q When was the first time that you learned about --
 7      Q Okay. Do you -- were they buying tickets at the           7      that -- my client's allegations?
 8   door, or did they show up with --                              8         A Probably a few days ago.
 9      A No, no, no, in advance.                                   9         Q Okay.
10      Q Do you know how they sold their tickets?                 10         A Yeah.
11      A What do you mean? I guess the members sold them. I       11         Q Okay. Has -- in the -- in the time that you've been
12   don't know, you know, because that's done before they get to  12      working at Julian Smith Casino and for the parks department,
13   me, so I don't know.                                          13      are -- have there ever been any complaints of any kind about
14      Q Do you know if anybody that works in the parks           14      the deputies providing security to events?
15   department is a member of 25 Gents?                           15         A Not any that I know of, no. I've been fortunate I
16      A Not that I know of, you know. I don't know.              16      guess. I have some good deputies. I've been fortunate.
17      Q Okay. Do you know if anybody -- were there -- was --     17         Q What about deputies working other events that you're
18   were there any elected officials at -- at the party on June   18      aware of? Have any --
19   14th, 2019?                                                   19         A Not that I know of, no.
20      A I don't know. I mean, I don't remember, you know,        20         Q Okay. Have -- are you aware of any complaints about
21   about that. I don't know who all was there, you know.         21      Charlie Walker in particular?
22      Q I understand. I just -- you know, sometimes -- for       22         A No. I haven't heard anything about him.
23   instance, sometimes, you know, we -- we go to a -- a Kiwanis 23          Q Okay. And do you have any -- any knowledge of him
24   Club meeting or a Rotary Club meeting and there's a judge and 24      outside of his job as a deputy, or do you know anything about
25   there's a county commissioner and things like that. And I -- 25       him with regard to being in the community?


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                                                                       1                           C E R T I F I C A T E
 1     A    I don't really know him -- it -- like that, you know
                                                                       2
 2   what I'm saying, yeah. Some deputies, you know, you get to
                                                                       3 STATE OF GEORGIA          )
 3   know them pretty good because you work with them all the time.
                                                                       4 COUNTY OF FULTON          )
 4   But I don't really know him like that, you know.
                                                                       5
 5      Q I understand. And -- and -- and that's what I --
 6   that's what I was kind of getting at, you know. You know --       6        I, JENNIFER A. GERBER, Certified Court Reporter in and
                                                                         for the State of Georgia, do hereby certify that the foregoing
 7   you know Mr. Washington and Mr. Jones from being in the           7 proceedings were taken down by me; that the foregoing
                                                                         proceedings were reduced to print by me; that the foregoing
 8   community -- and -- and being --                                  8 pages represent a true, correct, and complete transcript of the
                                                                         testimony given by the witness, who was first duly sworn by me;
 9      A Yeah.                                                        9 that I am not a relative, employee, attorney or counsel of any
                                                                         of the parties; that I am not a relative or employee of
10      Q -- and I didn't know if you had any relationship with       10 attorney or counsel for any of said parties; nor am I
                                                                         financially or otherwise interested in the outcome of the
11   Charlie Walker, or knew about him at --                          11 action.
12      A Yeah, I don't know him like that, yeah.                     12         This certification is expressly withdrawn and denied
                                                                         upon the disassembly, photocopying, reproduction of electronic
13      Q Do you know if anybody in the parks department has a        13 copies, and/or distribution of the foregoing transcript, or any
                                                                         part thereof, including exhibits, unless said disassembly,
14   personal relationship, friendly or unfriendly or otherwise,      14 photocopying, reproduction, and/or distribution is done by me
                                                                         and my signature and original seal is attached thereto.
15   with Charlie Walker?                                             15
                                                                                I further certify that the original of said deposition
16      A Not that I know of. They don't -- you know, I think         16 shall be filed under seal with J. Wickliffe Cauthorn, Attorney
                                                                         at Law; The Cauthorn Firm, 201 Cherokee Street, Marietta,
17   they just don't bring all that to me.                            17 Georgia.
18      Q Right. Has --                                               18           This, the 14th day of February, 2022.
19      A -- do --                                                    19
20      Q Have -- have you ever heard his name -- have -- have        20
21   you ever heard his name mentioned outside the context of         21                      JENNIFER A. GERBER
22   working as a -- a superintendent at Julian Smith Casino?         22                  CERTIFIED COURT REPORTER # 6241-2465-4151-2704
23      A No, I haven't.                                              23
24      Q I mean, other than, obviously, being here today?            24
25      A Yeah, I haven't.                                            25

                                                           Page 34                                                              Page 36
                                                                       1                   COURT REPORTER DISCLOSURE STATEMENT
 1    Q Okay. I don't have any more questions right now,
                                                                       2
 2 subject to any kind of follow up that I may have if your --
                                                                       3 STATE OF GEORGIA          )
 3 if -- if Mr. Frails or Ms. Haynes have any questions.
                                                                       4 COUNTY OF FULTON          )
 4    A Okay.
                                                                       5
 5         MR. FRAILS: We don't have any questions.
 6         MR. CAUTHORN: Okay. Ms. Johnson, thank you for your         6          I, JENNIFER A. GERBER, Certified Court Reporter,
                                                                         pursuant to Article 10.B of the Rules and Regulations of the
 7     time. I appreciate it and I -- and I hope that you have a       7 Board of Court Reporting of the Judicial Council of Georgia, I
                                                                         make the following disclosure:
 8     good weekend. And I hope that you get some -- maybe get         8
                                                                         1.      I am not disqualified for a relationship of interest
 9     some sleep tonight so that you -- you'll -- you'll to be        9 under the provisions of O.C.G.A. Sec. 9-11-28(c).
10     able to stay up late tomorrow.                                 10 2.        I am a Georgia Certified Court Reporter

11    A I will, thank you. all right.                                 11 3.     I am an independent contractor of Kellie K. Rodman, LLC,
                                                                         d/b/a Rodman Reporting.
12         MR. CAUTHORN: And, Jennifer, we can probably go off        12
                                                                         4.      Rodman Reporting was contacted by the office of the
13     the record.                                                    13 deposing counsel to provide court reporting services for this
                                                                         deposition.
14         THE VIDEOGRAPHER: And we are off the record at             14
                                                                         5.     I will not be taking this deposition under any contract
15     12:10.                                                         15 prohibited by Georgia law, O.C.G.A. 15-14-37(a). I will charge
                                                                         usual and customary rates to all parties in the case.
16         (Whereupon, the deposition concluded at 12:10 p.m.)        16
17                                                                    17
18                                                                    18
19                                                                    19                      JENNIFER A. GERBER
20                                                                    20                  CERTIFIED COURT REPORTER # 6241-2465-4151-2704
21                                                                    21
22                                                                    22
23                                                                    23
24                                                                    24
25                                                                    25


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                             17:16                     brief (1)                     26:23                  complied (1)
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